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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

    SEEMA MADHAVAN, individually and on            )
    behalf of all others similarly situated,       )
                                                   )
                           Plaintiffs,             ) Case No. 1:22-cv-01350
                                                   )
    v.                                             ) Judge Edmond E. Chang
                                                   )
    BLISTEX INC.,                                  )
                                                   )
                           Defendant.              )


                        DEFENDANT BLISTEX INC.’S RESPONSE
                TO PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY

           On July 26, 2022, Plaintiff filed Barnes v. Unilever United States Inc., No. 21-cv-6191,

2022 WL 2915629, at *1 (N.D. Ill. July 24, 2022). (Dkt. 24-1.) Plaintiff contends Barnes is

supplemental authority pertinent to her arguments on the pending Motion to Dismiss. (Dkt. 24.)

           The Barnes matter—a nonbinding district court authority1—is entirely irrelevant here for

two reasons. First, the Barnes action involves claims brought under Illinois law. The Barnes

action involves three Illinois plaintiffs. (See Barnes, No. 21-cv-6191, Dkt. 41 ¶¶ 12-14.) All

claims were analyzed under Illinois law. See Barnes, 2022 WL 2915629, at *2-3. Here, however,

the claims were brought by a New York plaintiff and brought under New York law. (See Dkt. 14

at 6-7.) That claims for unjust enrichment and violation of the Illinois Consumer Fraud Act

(“ICFA”) survived under an analysis of Illinois law is not relevant to the New York claims at hand.

This Court should instead turn to the New York cases cited throughout Blistex’s briefing.




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       It bears noting that Barnes was issued effectively as an advisory opinion “to provide
guidance for further proceedings” even though the consolidated plaintiffs intended to file an
amended complaint. See Barnes, 2022 WL 2915629, at *1.
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       Second, Plaintiff contends Barnes is relevant because the court allowed the “consumer

protection” claim to proceed. (Dkt. 24.) Plaintiff omits that the claim in Barnes was an ICFA

claim—not, as asserted here, claims under New York General Business Law (“GBL”) §§ 349, 350.

Most critically, Plaintiff omits that the court in Barnes permitted only a theory of “unfair practice”

under the ICFA to proceed. See Barnes, 2022 WL 2915629, at *3.

       Even assuming Barnes reached the correct conclusion, the distinction between an unfair

practice under the ICFA and a deceptive or misleading practice under the GBL is key. (See Dkt.

20 at 16-18, [Plaintiff conceding only misleading conduct is at issue].) An unfair practice under

the ICFA involves its own unique standard, and the court in Barnes made no mention of the

reasonable consumer standard. See, e.g., Benson v. Fannie May Confections Brands, Inc., 944

F.3d 639, 647 (7th Cir. 2019) (discussing standard for “unfair” ICFA claim). The claims at hand

here—alleged deceptive and misleading practices under GBL § 349 and false advertising under

GBL § 350—both require an analysis of the reasonable consumer standard. See, e.g., Fink v. Time

Warner Cable, 714 F.3d 739, 741 (2d Cir. 2013); Harris v. Pfizer Inc., No. 21CV6789 (DLC),

2022 WL 488410, at *7 (S.D.N.Y. Feb. 16, 2022). This is the standard that Plaintiff cannot survive

even on the pleadings. (See Dkt. 14 at 17-20.)

       To that end, it bears noting that in Barnes, the plaintiffs also alleged deceptive practices.

(See Barnes, No. 21-cv-6191, Dkt. 41 ¶ 93.) Allegations of deception under ICFA are governed

by the reasonable consumer standard. See Benson, 944 F.3d at 646. The court in Barnes made no

mention of deception and thus did not permit a theory of deception under ICFA to proceed.

       The Barnes decision is wholly inapposite, pertaining to entirely different law and entirely

different legal theories. This decision should be ignored.




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Dated: August 3, 2022                  Respectfully submitted,

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